                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )       Case No. 18-00325-01-CR-W-BCW
                                            )
JUAN GUZMAN,                                )
                                            )
                      Defendant.            )



                                           ORDER
       Pending is Defendant Juan Guzman’s Motion for Issuance of Subpoena Duces Tecum.
Doc. 148. 1 Defendant asks the Court to issue subpoenas duces tecum to (1) Kayla Roehler,
Wyandotte County, Kansas Assistant District Attorney; and (2) Teresa Kinsey, Records
Custodian of the Kansas City, Kansas Police Department. Id. at 1-5. The Government did not
respond to Defendant’s motion, and the time for doing so has passed. L.R. 7.0(c)(2). For the
following reasons, the Court DENIES Defendant’s motion without prejudice.


                                   I.      BACKGROUND
       On November 14, 2018, Defendant was charged with conspiracy to distribute
methamphetamine, conspiracy to commit money laundering, possession of firearms in
furtherance of drug trafficking crimes, and illegal re-entry into the United States. Doc. 16.
Defendant argues the charges brought against him in the matter before this Court are related to
matters being investigated in or charges that have been brought by Wyandotte County, Kansas.
Thus, Defendant asks the Court to issue subpoenas duces tecum to (1) Kayla Roehler, Wyandotte
County, Kansas Assistant District Attorney; and (2) Teresa Kinsey, Records Custodian of the
Kansas City, Kansas Police Department.



1
  The title of Defendant’s motion indicates he is seeking a subpoena “for production of records
related to immigration status”; however, the suggestions in support of the motion do not indicate
Defendant is seeking records related to his immigration status.


        Case 4:18-cr-00325-BCW Document 158 Filed 11/20/20 Page 1 of 4
                                  II.          LEGAL STANDARD
       Pursuant to the Federal Rules of Criminal Procedure, a court may issue a subpoena
ordering a “witness to produce any books, papers, documents, data, or other objects the subpoena
designates.” Fed. R. Crim. P. 17(c)(1). Rule 17(c) of the Federal Rules of Criminal Procedure
was designed “to expedite the trial by providing a time and place before trial for the inspection of
subpoenaed materials.” United States v. Nixon, 418 U.S. 683, 698 (1974); see also United States
v. Bueno, 443 F.3d 1017, 1026 (8th Cir. 2006) (citing Nixon, 418 U.S. at 698-99). Rule 17(c)
“was not intended to provide a means of discovery for criminal cases.” Nixon, 418 U.S. at 698.
       Before the court can issue a subpoena pursuant to Rule 17(c), the requesting party must
show the information sought is relevant, requested with specificity, and is admissible. Id. at 700;
see also United States v. Hardy, 224 F.3d 752, 755 (8th Cir. 2000) (citation omitted). The
“specificity and relevancy elements require more than the title of a document and conjecture as
to its contents.” Hardy, 224 F.3d at 755 (quoting United States v. Arditti, 955 F.2d 331, 346 (5th
Cir. 1992)).   The movant also must establish the information is “not otherwise procurable
reasonably in advance of trial by exercise of due diligence,” the movant “cannot properly prepare
for trial without such production and inspection in advance of trial,” “the failure to obtain such
inspection may tend unreasonably to delay the trial,” and “the application is made in good faith
and is not intended as a general ‘fishing expedition.’” Nixon, 48 U.S. at 699-700.


                                        III.     DISCUSSION
       According to Defendant, “allegations of armed robbery, possession of drugs and drug
paraphernalia, interference with a law enforcement officer and transporting an open container of
alcohol have also been preferred [sic] against defendant in Wyandotte County, Kansas District
Court.” Doc. 148, at 2. Defendant represents the Wyandotte County allegations “occurred
during the same time frame as the alleged conspiracy charged in the above captioned case.” Id.
In addition, defense counsel believes the robbery allegation against his client “was made in order
to cover up drug-related activities by the accusers, and to cast unwarranted aspersions against
defendant.” Id. at 3. Defendant also states, “the alleged victim of the state robbery allegation is
understood to be one of the persons mentioned in the discovery as a co-actor in the conspiracy
charged in the above captioned cause and the companion case.” Id. at 2-3.




                                     2
         Case 4:18-cr-00325-BCW Document 158 Filed 11/20/20 Page 2 of 4
        Defendant seeks the records connected to the Wyandotte County prosecution because
they “are material and necessary for the proper preparation for trial upon the above captioned
cause” and “are part and parcel of the same activities charged in” this matter. Id. He avers
“certain evidence against defendant, including the statements made by defendant, may well
amount to forbidden fruit of the poisonous tree of an unlawful arrest.” Id. Defendant claims
none of the reports related to the Wyandotte County charges have been produced in this matter.
Id. Thus, Defendant asks that the Court direct the Wyandotte County, Kansas Assistant District
Attorney and the Kansas City, Kansas Police Department to “produce all of their records
pertaining to Daniel Solorio.” 2 Id. at 5. 3
        First, the Court finds Defendant’s motion lacks specificity. Defendant’s request for all
“records pertaining to Daniel Solorio” is not limited in any fashion. Defendant fails to state a
period of time, does not list the specific documents he seeks, and does not provide “with
reasonable precision the subjects to which the documents relate.” United States v. Hang, 75 F.3d
1275, 1283 (8th Cir. 1996) (finding the defendant failed to “identify by name the documents
desired”); United States v. Burkhalter, No. 18-00036-01/02-CR-W-BCW, 2020 WL 4717577, at
*3 (W.D. Mo. Aug. 13, 2020) (finding the Government’s request for a subpoena for “records
maintained in the central or institutional file” and “all records related” to two individuals “failed
to meet the requirements of relevance and specificity”). Because Defendant fails to specify the
information and documents sought, the Court DENIES his motion.
        In addition, the Court finds Defendant fails to establish the records he seeks are relevant.
At best, Defendant argues the records could show a co-defendant in this matter may be the


2
  “Daniel Solorio” is one of several monikers allegedly used by Defendant. See Doc. 16. But
Defendant does not explain why he seeks records related to Daniel Solorio and not Juan
Guzman. Additionally, Defendant does not set forth identifying information, such as a year of
birth and/or address, that would be included in any subpoena to be issued. Thus, it is unclear
how the recipient of the requested subpoena duces tecum would be able to identify the individual
about whom the records are sought.
3
  Defendant requests the Court direct Roehler and Kinsey produce these records “by not later
than May 2, 2014.” Doc. 148, at 5. This date appears to have been included in error because,
later in the motion, Defendant asks that records be produced by October 20, 2020. Id. Although
the second date appears to be Defendant’s intended production date, the Court notes said date
was eleven days after his motion was filed, and therefore, did not account for the Government’s
fourteen-day response deadline or the recipients having a reasonable opportunity to be served
with and respond to the subpoena.


                                     3
         Case 4:18-cr-00325-BCW Document 158 Filed 11/20/20 Page 3 of 4
“alleged victim of the state robbery,” and the alleged robbery might be a cover up for drug
related activities.   Doc. 148, at 2-3.   However, conjecture and speculation as to what the
documents may contain are insufficient to satisfy the prerequisites for the issuance of subpoenas
under Rule 17(c). See Hang, 75 F.3d at 1283. As the Eighth Circuit has held, “a subpoena
should not issue based upon a party’s ‘mere hope’ that it will turn up favorable
evidence.” United States v. Bradford, 806 F.3d 1151, 1155 (8th Cir. 2015) (citation omitted).
Due to Defendant’s failure to establish the records sought are relevant, the Court DENIES
Defendant’s motion. 4
        Finally, Defendant’s motion, in part, seeks records related to an alleged robbery victim.
Doc. 148, at 2-3. However, if a requested subpoena requires a third party to produce “personal
or confidential information about a victim,” “[b]efore entering the order and unless there are
exceptional circumstances, the court must require giving notice to the victim so that the victim
can move to quash or modify the subpoena or otherwise object.” Fed. R. Crim. P. 17(c)(3).
Here, there is no indication that the alleged robbery victim has been notified that Defendant
intends to seek production of records likely to include the victim’s personal and/or confidential
information. And the Court is unable to notify the victim of Defendant’s requested subpoena
without the victim’s contact information. Alternatively, Defendant does not identify exceptional
circumstances that would alleviate the notice requirement. For this additional reason, the Court
DENIES Defendant’s motion.


                                    IV.     CONCLUSION
        For the foregoing reasons, the Court DENIES Defendant’s Motion for Issuance of
Subpoenas Duces Tecum to the Wyandotte County, Kansas Assistant District Attorney and the
Kansas City, Kansas Police Department without prejudice.

        IT IS SO ORDERED.

DATE: November 20, 2020                        /s/ W. Brian Gaddy
                                             W. BRIAN GADDY
                                             UNITED STATES MAGISTRATE JUDGE


4
 Because Defendant fails to satisfy the specificity and relevancy requirements, the Court need
not consider whether the records sought are admissible or whether Defendant satisfied the other
Rule 17(c) requirements.


                                     4
         Case 4:18-cr-00325-BCW Document 158 Filed 11/20/20 Page 4 of 4
